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16
                                   UNITED STATES DISTRICT COURT
17
                                NORTHERN DISTRICT OF CALIFORNIA
18
                                            OAKLAND DIVISION
19
20
     EPIC GAMES, INC.                               Case No. 4:20-cv-05640-YGR
21
             Plaintiff, Counter-defendant           DECLARATION OF CYNTHIA RICHMAN
22   v.                                             IN SUPPORT OF PLAINTIFF’S
                                                    ADMINISTRATIVE
23   APPLE INC.,                                    MOTION TO CONSIDER WHETHER
                                                    ANOTHER PARTY’S MATERIAL
24
             Defendant, Counterclaimant             SHOULD BE SEALED
25
                                                    The Honorable Yvonne Gonzalez Rogers
26                                                  Courtroom 1, 4th Floor
27

28

              DECLARATION OF CYNTHIA RICHMAN IN SUPPORT OF PLAINTIFF’S ADMINISTRATIVE
              MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
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 1           I, Cynthia Richman, hereby declare as follows:
 2           1.         I am an attorney licensed to practice in the District of Columbia and am admitted to
 3   practice pro hac vice in this Court. I am a partner at the law firm Gibson, Dunn & Crutcher LLP,
 4   counsel of record for Defendant Apple Inc. (“Apple”) in this case.
 5           2.         I am personally familiar with Apple’s treatment of proprietary and confidential
 6   information and its public relations activities based on my personal experience representing Apple.1 I
 7   have personal knowledge of the facts stated below and, if called as a witness, I could and would testify
 8   competently thereto. Pursuant to Federal Rule of Civil Procedure 26(c) and Local Rule 79-5, Apple
 9   submits this declaration in support of Epic Games, Inc.’s (“Epic’s”) administrative motion to consider
10   whether Apple’s produced information should be sealed. Dkt. 1035.
11           3.         On October 11, 2024, Apple filed its Administrative Motion to Modify Order Regarding
12   Witness Communications. Dkt. 1033. On October 15, 2024, Epic filed its opposition, Dkts. 1035,
13   1035-1, supported by Exhibit A. Dkt. 1035-2.
14           4.         Epic’s opposition brief quotes from select portions of Exhibit A. Apple is not seeking
15   to seal those or any other parts of Epic’s opposition brief. Apple is, however, moving to seal Exhibit A
16   in its entirety.
17           5.         Exhibit A, produced by Apple under a “Confidential” designation pursuant to the
18   Protective Order and bates stamped as APL-EG_10804280, is a 94-page document containing a private,
19   free-flowing text message exchange between two mid-level Apple PR professionals. These two
20   individuals are not business decisionmakers at Apple and were not involved in designing the link
21   entitlement program that Apple implemented to comply with the Court’s Injunction, nor setting the
22   associated commission rates. Their text conversation covers topics including online shopping, personal
23   physical appearance, travel plans, flight and hotel preferences, general PR work for Apple, and
24

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       Courts in this District routinely grant motions to seal on the basis of declarations of counsel. See,
     e.g., In Re Qualcomm Litig., No. 17-00108, Dkt. 398-1 (S.D. Cal. Mar. 3, 2018); Avago Techs. U.S.
26   Inc., et al. v. Iptronics Inc., et al., No. 10-02863-EJD, Dkt. 544 (N.D. Cal. Apr. 3, 2015); Cisco Sys.,
     Inc., et al. v. Opentv Inc., et al., No. 13-00282-EJD, Dkt. 76 (N.D. Cal. Oct. 8, 2018). However, if the
27   Court deems this declaration insufficient, Apple respectfully requests that it be permitted to file a
     further declaration supporting filing under seal.
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 1   potential staffing needs within Apple’s PR team. The texts also include off-the-cuff reactions to the
 2   Zoom broadcast of the May 10 evidentiary hearing in this matter.
 3          6.      In its opposition, Epic cites text messages from just six pages of Exhibit A to illustrate
 4   its supposed concern that Apple would improperly “influence ongoing testimony” if the Court granted
 5   Apple’s motion. Dkt. 1035-1 at 2-3. While Apple strongly disagrees that the quoted texts bear any
 6   relevance to Apple’s motion, much less substantiate the arguments in Epic’s opposition, Apple is not
 7   moving to seal those portions of Epic’s brief.
 8          7.      When a party files a “sealed discovery document attached to a non-dispositive motion”
 9   the “usual presumption of the public’s right to access is rebutted.” Kamakana v. City and County of
10   Honolulu, 447 F.3d 1172, 1179-80 (9th Cir. 2006) (cleaned up). In such cases, a “‘good cause’ showing
11   under Rule 26(c)” is all that is required to keep the records sealed. Id. at 1180. A party has “good
12   cause” to seal information “‘to protect a party or person from annoyance, embarrassment, oppression,
13   or undue burden or expense.’” Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1097-101
14   (9th Cir. 2016) (quoting Fed. R. Civ. P. 26(c)).
15          8.      Here, the good cause standard applies. The administrative motion seeks modification
16   of the procedures governing the evidentiary hearing on Epic’s motion to enforce the Injunction—
17   specifically, the degree of contact Apple and its attorneys may have with certain witnesses before the
18   hearing resumes. The motion does not “requir[e] the court to address the merits” of Epic’s underlying
19   motion to enforce the injunction, Ctr. for Auto Safety, 809 F.3d at 1099; rather, it “relate[s] merely to
20   the judge’s role in management of the [evidentiary hearing],” id. at 1100 (quoting United States v.
21   Kravetz, 706 F.3d 47, 54 (1st Cir. 2013)). Hence, the motion is non-dispositive and the good cause
22   standard applies.
23          9.      Apple moves to seal Exhibit A in its entirety. As set forth in Table 1 below, Exhibit A
24   includes discussion of the hiring needs of Apple’s PR department, which reflects confidential
25   information about Apple’s current PR strategy. See Baker v. SeaWorld Ent’mt, Inc., 2017 WL
26   5029612, at *5 (S.D. Cal. Nov. 3, 2017) (granting motion to seal “communications regarding
27   [defendant’s] public relations strategy” under compelling interest standard). The remainder of Exhibit
28
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 1   A consists of personal and private discussions between two colleagues. Much of the discussion
 2   concerns clothing, travel, and work-related activities that have no relevance whatsoever to this matter
 3   or the issues before the Court and would cause personal embarrassment if published. See eBay Inc. v.
 4   Boch, 2022 WL 1131720, at *2 (N.D. Cal. March 21, 2022) (granting various motions to seal personal
 5   information “of minimal relevance to the merits of the motion”).
 6          10.     To the extent there is discussion of the May 10 evidentiary hearing, it comprises the
 7   spontaneous reactions of two mid-level PR professionals who are neither attorneys nor business
 8   decisionmakers at Apple. Their assessment of the evidentiary hearing is of minimal public interest in
 9   the context of the merits of this litigation. If made public, however, it would create personal
10   embarrassment, as well as potential professional harm given their roles as PR professionals who
11   interact with the press on a daily basis. See Saint Alphonsus Med. Ctr.—Nampa, Inc. v. St. Luke’s
12   Health Sys., Ltd., 2014 WL 3101716, at *3 (D. Idaho July 3, 2014) (finding compelling interest to fully
13   seal “email discussion” containing individuals’ “stance” on challenged merger because it “contain[ed]
14   potentially embarrassing personal information,” was “irrelevant to [the] Court[’s] decision,” and would
15   “not assist [the] public in understanding the case”); Pryor v. City of Clearlake, 2012 WL 3276992
16   (N.D. Cal. Aug. 9, 2012) (sealing document that was “not relevant to resolving” the pending motion
17   and would “likely cause [a nonlitigant] embarrassment”).
18          11.     Apple seeks to seal this information consistent with this Court’s Guidelines for
19   Professional Conduct, which require “[a]ll matters [to] be handled with due respect for the privacy
20   rights” of individuals, that “facts about the private lives of any party or other individual[]” not be used
21   except where “relevant to a legitimate issue,” and “to ensure that the private information [of
22   individuals] is disclosed only to those persons who need to present it as relevant to the court.” N.D.
23   Cal. Prof’l Guidelines § 17.
24          12.     Apple thus respectfully requests that the materials set forth in Table 1 be kept sealed for
25   the reasons stated below:
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              DECLARATION OF CYNTHIA RICHMAN IN SUPPORT OF PLAINTIFF’S ADMINISTRATIVE
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 1

 2                                              Table 1
 3          Ex. A Page                                    Basis for Redaction
 4   ‘280                      Personally identifiable information (phone numbers): This page
                               contains the names and phone numbers of Apple employees.
 5                             Exposing their contact information to the public adds no probative
                               value to the resolution of Apple’s motion, would not assist the public
 6
                               in understanding the dispute relating to the motion, and would only
 7                             serve to expose the employees to unwanted contact and harassment.

 8   ‘280-85, ‘290, ‘305-09,   Hiring and headcount needs discussions: Texts on these pages reflect
                               the PR team members’ crafting of a request to managers for additional
 9   ‘314-17, ‘321             headcount and anticipated workload. Public disclosure of the
                               discussion would expose how Apple employees think about hiring or
10                             recruitment needs based on specific developments identified in the text
11                             messages. The information could be exploited by rivals, weakening
                               Apple’s competitive position or unfairly used by certain job candidates
12                             to gain an unfair advantage in the hiring process. On balance,
                               disclosure would be irrelevant to the Court’s resolution of Apple’s
13                             motion and will not assist the public in understanding the dispute
                               relating to the motion.
14

15   ‘287-88, ‘293-96, ‘296,   Discussions of PR work: Texts on these pages reflect day-to-day public
                               relations work by the two employees. Revealing this information to the
16   ‘324-27, ‘369-72          public will expose how Apple’s employees handle their work and
                               identify its outside vendors and their responsibilities. Making this
17                             information public will provide competitors with an unfair advantage
                               by providing insight into how Apple’s PR employees handle their
18                             responsibilities, interact with reporters, and rely on vendors for certain
19                             tasks. On balance, disclosure would be irrelevant to the Court’s
                               resolution of Apple’s motion and will not assist the public in
20                             understanding the dispute relating to the motion.

21   ‘288-90, ‘318, ‘335-67    Online shopping and travel discussions: Texts on these pages reflect
                               friendly and frivolous conversations. Exposing these conversations to
22                             the public adds no probative value to the resolution of Apple’s motion
23                             and would only serve to embarrass the Apple employees and expose
                               personal views and preferences elicited in a private conversation. On
24                             balance, disclosure would be irrelevant to the Court’s resolution of
                               Apple’s motion and will not assist the public in understanding the
25                             dispute relating to the motion.
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      ‘286-87, ‘291-93, ‘297-     Hearing commentary: Texts on these pages reflect the PR employees’
 2                                off-the-cuff reactions to testimony and questions at the hearing. Epic
      05, ‘310-14, ‘317-23,       has already selected portions thereof to support its opposition, which
 3                                Apple is not seeking to seal. Further disclosure of these discussions
      ‘328-35, ‘367-69            adds no probative value to the resolution of Apple’s motion and would
 4                                only serve to embarrass the Apple employees and potentially undermine
 5                                their professional relationships with colleagues and the press. Given
                                  that the PR professionals were not involved in making the business
 6                                decisions challenged in Epic’s motion to enforce the Injunction, their
                                  assessment of the proceedings is of little relevance to the issues before
 7                                the Court.
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 9
            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and
10
     correct and that I executed this declaration on October 22, 2024 in Chevy Chase, Maryland.
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12                                                              /s/ Cynthia Richman

13                                                              Cynthia Richman

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